

People v Horton (2022 NY Slip Op 04504)





People v Horton


2022 NY Slip Op 04504


Decided on July 8, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 8, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., LINDLEY, NEMOYER, CURRAN, AND WINSLOW, JJ.


531 KA 21-01037

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vKYLE J. HORTON, DEFENDANT-APPELLANT. (APPEAL NO. 4.) 






ROSEMARIE RICHARDS, GILBERTSVILLE, FOR DEFENDANT-APPELLANT.
BROOKS T. BAKER, DISTRICT ATTORNEY, BATH (JOHN C. TUNNEY OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Steuben County Court (Patrick F. McAllister, A.J.), rendered June 14, 2021. The judgment convicted defendant, upon his plea of guilty, of petit larceny. 
It is hereby ORDERED that the judgment so appealed from is unanimously modified on the law by vacating the sentence and as modified the judgment is affirmed and the matter is remitted to Steuben County Court for further proceedings in accordance with the same memorandum as in People v Horton ([appeal No. 1] — AD3d — [July 8, 2022] [4th Dept 2022]).
Entered: July 8, 2022
Ann Dillon Flynn
Clerk of the Court








